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Memorial Production Partners LP, et al.
4Q 2019 Consolidated Cash Flows
Amounts in thousands

                                                                       Oct‐19             Nov‐19              Dec‐19                   4Q 2019
          Beginning Cash Balance                                  $               ‐ $                  ‐ $               ‐        $                 ‐ 3)

          Receipts
             Collections                                          $          7,046 $              7,061 $           7,168         $           21,275
             Other Receipts                                                                                                                        ‐
             Borrowing                                                                                                                             ‐
          Total Receipts                                          $         7,046 $              7,061 $            7,168         $           21,275

          Operating Disbursements
             LOE/Capex/Other Op. Ex.                              $         3,579 $              2,773 $            5,116         $           11,468
             G&A                                                                ‐                    ‐                  ‐                          ‐
             Payroll                                                            ‐                    ‐                  ‐                          ‐
             Royalties                                                      1,748                    ‐              3,441                      5,189
             Taxes                                                              ‐                    ‐                  ‐                          ‐
          Total Operating Disbursements                           $         5,327 $              2,773 $            8,557         $           16,657

          Non‐Operating Disbursements
             Restructuring Fees                                   $               ‐ $                 ‐ $                ‐        $                 ‐
             Bank Fees                                            $               ‐                   ‐                  ‐                          ‐
             Debt / Interest Payments                                             ‐                   ‐                  ‐                          ‐
          Total Non‐Operating Disbursements                       $               ‐ $                 ‐ $                ‐        $                 ‐

          Net Plan Disbursements
          Plan Effects Receipts                                   $               ‐ $                 ‐ $                ‐        $                 ‐
          Plan Effects Disbursements                                              ‐                   ‐                  ‐                          ‐
          Total Net Plan Disbursements                            $               ‐ $                 ‐ $                ‐        $                 ‐

          Net Cash Flow                                           $         1,719 $              4,288 $           (1,389)        $            4,618

          Ending Cash Balance                                     $               ‐ $                  ‐ $               ‐        $                 ‐ 3)

Notes:

1) On April 30, 2018, Amplify Energy Corp. and its affiliates (collectively, the "Debtors") filed with the Bankruptcy Court a motion for a final decree and
entry of an order closing the chapter 11 cases with respect to each of the Debtors, other than (i) San Pedro Bay Pipeline Company ("SPBPL"), Ch. 11 Case
No. 17‐30249, (ii) Rise Energy Beta, LLC ("REB"), Ch. 11 Case No. 17‐30250, and (iii) Beta Operating Company, LLC ("BOC"), Ch. 11 Case No. 17‐30253,
(collectively, the "Closing Debtors"). On May 30, 2018 ("Final Decree Date"), the court entered into the final decree closing the chapter 11 cases of the
Closing Debtors. For periods after the Final Decree Date, receipts and disbursement activity only reflect the transactions of SPBPL, REB, and BOC,
respectively.

2) This Disbursement Summary is unaudited and does not purport to represent financial statements prepared in accordance with generally accepted
accounting principles nor are they intended to fully reconcile to the financial statements prepared by Amplify Energy Corp. (“the Company”).
Information contained in the Disbursement Summary has been derived from the Company’s books and records. Therefore, in order to comply with its
obligations to provide quarterly reporting during the Chapter 11 case, the Company has prepared this quarterly report using the best information
presently available to it. This Disbursement Summary is true and accurate to the best of the Company’s knowledge, information and belief based on
current available data. The financial results contained herein are not necessarily indicative of results that may be expected for any other period or for the
full year and may not necessarily reflect the consolidated financial results of the Company in the future. The information contained herein is unaudited,
limited in scope, and subject to change.

3) Based on centralized cash management practices, almost all disbursements are made by Amplify Energy Operating LLC's (successor entity to Memorial
Production Operating LLC) and Beta Operating Company, LLC on behalf of all Debtors with all cash receipts and Cash Balances held in Amplify Energy
Operating LLC's main operating account. For periods after the Final Decree Date, the Beginning and Ending Cash Balances is displayed as zero as SPBPL,
REB, and BOC have ZBA accounts which sweep cash on a daily basis to the Amplify Energy Operating LLC's main operating account.
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                                                                 UNITED STATES BANKRUPTCY COURT

CASE NAME:             Memorial Production Partners LP, et al.                                                      PETITION DATE:                         01/16/17
CASE NUMBER:           17-30262                                                                                     DISTRICT OF TEXAS:                     Southern
PLAN EFFECTIVE DATE:   5/4/2017                                                                                     DIVISION:                              Houston

Disbursement and Fee Summary - 4Q 2019
                                                                                 Disbursements                                       Fees In USD
                                                                                                                                            Balance Due
Case Number            Entity Name                                Oct‐19      Nov‐19      Dec‐19       4Q19 Total           Fee               per UST      Difference
17-30262               Memorial Production Partners LP                                                                                               -             -
17-30248               Memorial Production Finance Corporation                                                                                       -             -
17-30249               San Pedro Bay Pipeline Company               115,204     118,416     197,076      430,696                    4,875          4,874             1
17-30250               Rise Energy Beta, LLC                      3,463,348   2,654,383   4,918,425   11,036,157                  110,362       120,325         (9,963)
17-30251               Rise Energy Minerals, LLC                                                                                                     -             -
17-30252               Rise Energy Operating, LLC                                                                                                    -             -
17-30253               Beta Operating Company, LLC                1,748,500         -     3,440,963    5,189,463                   51,895         51,744           151
17-30254               Columbus Energy, LLC                                                                                                          -             -
17-30255               WHT Carthage LLC                                                                                                              -             -
17-30256               WHT Energy Partners LLC                                                                                                       -             -
17-30257               Memorial Energy Services LLC                                                                                                  -             -
17-30258               Memorial Midstream LLC                                                                                                        -             -
17-30259               Memorial Production Operating LLC                                                                                             -             -
17-30260               MEMP Services LLC                                                                                                             -             -
17-30261               Memorial Production Partners GP LLC                                                                                           -             -
                                                       Total      5,327,052   2,772,799   8,556,465   16,656,316                  167,132       176,943         (9,811)
Notes:
